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AQ 91 (Rev. HI/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Middle District of Florida

United States of America
Vv.
Case No.

8:24MJ1459 SPF

MIKHAIL SOLOVEV

Defendan 1(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of | November 2023 - March 2024 in the county of Sarasota — in the
Middle — District of Florida _, the defendant(s) violated:

Code Section Offense Description
18 U.S.C. § 1349 Conspiracy to commit wire fraud (18 U.S.C. § 1343)

This criminal complaint is based on these facts:

® Continued on the attached sheet.

Caluade Selman

6 ‘omplainant 's signature
FBI SA Eduardo Selman

Printed name and title

Sworn to before me over the telephone or other reliable electronic means and signed by me
pursuant to Fed. R. Crim. P. 4.1 and 4(d).

Date: 3/a%/aoa*| A F4A—

Judge"s signature

City and state: Tampa, FI Law fr. Payne U.5, Magstate Sede

Printed hame and title
